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                    7

                    8                                    UNITED STATES DISTRICT COURT
                    9                              NORTHERN DISTRICT OF CALIFORNIA
                  10                                           OAKLAND DIVISION
                  11

                  12     WHATSAPP INC., a Delaware                    Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  13     Delaware corporation,                        DECLARATION OF ROD J. ROSENSTEIN
                                                                      IN SUPPORT OF OPPOSITION TO
                  14                       Plaintiffs,                WHATSAPP’S MOTION TO DISQUALIFY
                                                                      DEFENSE COUNSEL BASED ON PRIOR
                  15     v.                                           REPRESENTATION IN A SEALED
                                                                      MATTER
                  16     NSO GROUP TECHNOLOGIES
                         LIMITED and Q CYBER                          Date:            June ___, 2020
                  17     TECHNOLOGIES LIMITED,                        Time:            9:00 a.m.
                                                                      Courtroom:       3, Third Floor
                  18                       Defendants.                Judge:           Hon. Phyllis J. Hamilton

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                  20                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED

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LONG & LEVIT LLP
465 CALIFORNIA STREET,                                                              DECLARATION OF ROD J. ROSENSTEIN
      5TH FLOOR                                                                                      4:19-cv-07123-PJH
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